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7

8
                                   UNITED STATES DISTRICT COURT
9
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
       MENTOR CAPITAL, INC.,                             )   Civil Action No. 3:14-cv-03630-LB
11
                                                         )
12           Plaintiff.                                  )   MENTOR CAPITAL, INC.’S
                                                         )   MOTION TO APPOINT A
13                            v.                         )   RECEIVER FOR DEFENDANT
                                                         )   BHANG CHOCOLATE COMPANY
14     BHANG CHOCOLATE COMPANY, INC., a                  )   AND FOR PRELIMINARY
15
       Nevada corporation and BHANG                      )   INJUNCTION
       CORPORATION, a Nevada corporation,                )
16                                                       )   Date:         August 10, 2017
             Defendants.                                 )   Time:         9:30 a.m.
17                                                       )   Courtroom:    C
                                                         )
18

19          TO DEFENDANTS AND THEIR ATTORNEYS OF RECORD:
20          NOTICE IS HEREBY GIVEN that on August 10, 2017 at 9:30 a.m. or as soon thereafter as
21   counsel may be heard by the above entitled court, Courtroom C, located at 450 Golden Gate
22   Avenue, San Francisco, California 94102, Plaintiff Mentor Capital, Inc. (“Mentor”) will and hereby
23   does move the court, pursuant to California Civil Procedure Code Sections 564(b) and 708.610, to
24   appoint a receiver to manage Judgment Debtors’ businesses, including collecting payments owed
25   by licensees, enforcing trademark rights, enforcing license agreements and other contracts, pursuing
26   improper and fraudulent transfers of debtor property, and engaging in commercial transactions, and
27   ensure that the assets of Judgment Debtors’ business are not being improperly removed from the
28   business, and for an injunction prohibiting interference therewith.

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     JUDGMENT CREDITOR MENTOR CAPITAL, INC.’S MOTION TO APPOINT A RECEIVER OVER
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1               This motion is based upon this Notice of Motion and Motion; the accompanying
2    memorandum of points and authorities in support of this motion; the judgment entered in this
3    matter on December 29, 2016, the supporting declarations of Chet Billingsley, Paul Marotta, and
4    Kevin Singer filed herewith; all pleadings and papers on file in this action, and upon such other
5    matters as may be presented to the court at the time of the hearing.
6                               MEMORANDUM OF POINTS AND AUTHORITIES
7                                             I.      INTRODUCTION
8               A money judgment was entered in Mentor’s favor against Bhang Corporation, aka Bhang
9    Chocolate Company, Inc. (together “Bhang”), on December 29, 2016, in the amount of
10   $1,921,534.62 (“Judgment”). Interest accrues on the Judgment at the rate of $526.45 per day or,
11   approximately, $15,000 per month.
12              Bhang has made no attempts to pay any portion of the Judgment and has ignored all efforts
13   by Mentor to discuss payment of the Judgment. 1 What is worse is that Bhang and its owners are
14   apparently using artifices to avoid Mentor’s judgment collection efforts.
15              While Bhang tries to avoid paying the judgment, its licensees are refusing to pay anyone, its
16   trademarks are still being used, it claims no money is coming in, and its business is withering.
17   Additionally there are assets here that Bhang will never pursue because they involve recovering
18   money fraudulently paid out to the Bhang owners. For all these reasons a receiver is needed to
19   marshal Bhang’s assets, protect Bhang’s business, enforce Bhang’s intellectual property, and ensure
20   Mentor’s judgment is paid.
21                                      II.        STATEMENT OF FACTS
22              Bhang and its owners are engaging in concerted efforts to hide or transfer Bhang assets to
23   other entities in which the owners have interests in an attempt to avoid Mentor’s Judgment.
24   Mentor has served, through the Northern California US Marshal, over a dozen levies on banks
25   where Bhang has maintained accounts, licensees of Bhang’s intellectual property, vendors, service
26   providers, and the like. Bhang has closed all bank accounts in its name and is using bank accounts
27   in the names of other people or entities, including Scott Van Rixel (“Van Rixel”) Bhang CEO’s
28
     1
         Bhang did ask that the judgment be “lifted” so Bhang does not go out of business.
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     JUDGMENT CREDITOR MENTOR CAPITAL, INC.’S MOTION TO APPOINT A RECEIVER OVER
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1    brother Tim Van Rixel, and a bank account in the name of Van Rixel.
2             And Bhang’s business and assets are withering. Bhang’s business model is to license its
3    intellectual property to licensees in exchange for license and royalty payments. Bhang neither
4    manufactures, produces, nor sells its branded products to end-users or individual store-fronts and
5    relies upon licensees to produce and distribute its branded products. A license agreement between
6    Bhang and a former licensee shows that the minimum royalty fee due to Bhang is $30,000 per
7    month.
8             But these licensees have responded to Mentor’s levies claiming that the levy itself is a
9    breach by Bhang of the license agreement and, therefore, no payments are due to Bhang. The
10   licensees are therefore possibly in breach of the license agreement, or are infringing Bhang’s
11   trademarks, or both.    To Mentor’s knowledge Bhang is doing nothing to enforce its license
12   agreements or protect its marks.
13            Despite Mentor levying Alta Supply, Inc., a California entity owned and run by Richard
14   Sellers, a Bhang principal, director, and 30% owner, Alta Supply paid nothing over in response to
15   the levy.    And this, despite California being Bhang’s largest market, and with what Mentor
16   estimates are $8 million in retail sales by Alta Supply since the Judgment was entered.
17            To make matters worse, Todd Winter, a lawyer representing Bhang and Richard Sellers’
18   entities, has also been contacting licensees, claiming that the levies were not properly served, and
19   instructing the licensees not to turn over any funds to the US Marshal as instructed by the levies.
20   Bhang’s lawyer is further telling licensees that Mentor will soon be out of business due to an action
21   filed in Utah by family members of another of Bhang’s counsel so such payments to Mentor are
22   unnecessary.
23            Moreover, based on the past behavior of Bhang and its owners as well as intimate
24   knowledge of Bhang’s business practices, Mentor believes that Bhang is attempting to leave Bhang
25   as an empty, judgment proof shell by (i) fraudulently conveying assets from the business to its
26   owners or third parties, (ii) trying to skirt Mentor levies by asking that its licensees direct all
27   payments to a middleman, (iii) setting up company bank accounts in names other than Bhang, and
28   (iv) transferring Bhang assets and intellectual property to new entities owned by Bhang’s owners.

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1            Bhang has also entered into a joint venture with the Cypress Hill musical group and has, or
2    is in the process of, transferring significant assets into this joint venture as a further attempt to
3    avoid paying the Judgment entered against it. A trademark filing was made for CHB [Cypress Hill
4    Bhang] in a stylized design by Bhang lawyer, Todd Winter, in United States Patent and Trademark
5    Office Trademark Application Serial Number 8725572 2, filed October 25, 2016.
6            Mentor is well aware that Bhang’s owners have raided the company’s bank accounts for
7    their own personal gain in the past and is afraid that they are taking the same actions now. The
8    entirety of Mentor’s original $1,500,000, which formed the principal for the Judgment, was
9    transferred out of Bhang’s bank account within days of deposit and into those accounts of its
10   owners, Van Rixel, Sellers, and William Waggoner 3. Mentor believes that some of these funds
11   were used to purchase real property in Florida that has since been transferred to separate entities
12   such as Empajo Invest, LLC and 330 E. San Marino Drive, LLC, both of which are managed by
13   Van Rixel.
14           Mentor’s experience with Bhang’s financial statements is that they are inaccurate and
15   certainly don’t represent GAAP. For example, financial statements given to Mentor during the
16   short period of time that the parties worked together in 2014 reference cash assets in an account
17   labeled as “Far and Away”. Van Rixel told Mentor’s Chief Executive Officer, Chet Billingsley,
18   that some of the cash earned by Bhang is kept off the books in either cash or precious metals.
19           Bhang has even undertaken actions that dilute the Bhang brand and the value of its
20   intellectual property. Van Rixel has formed several other entities which have registered trade and
21   service marks identical to those registered by Bhang, including stylized designs mirroring the
22   Bhang name and “B” logo. As Bhang does not manufacture or sell products directly, these trade
23   and service marks make up a substantial portion of the value of Bhang.
24           Some marks have been registered in the name of Founding Fathers Hemp Co. (“Founding
25

26
     2
       The Applicant is CB Brands, LLC, which was formed in Nevada in August, 2016, right after Mentor prevailed in the
27   underlying arbitration. Its manager is Scott Van Rixel and its “address” is the same UPS Store where Bhang has its
     principal address.
28   3
       Bhang stipulated to such fact during the arbitration which led to the Judgment. The distributions were in the exact
     percentage of the ownership interest of the three principals.
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     JUDGMENT CREDITOR MENTOR CAPITAL, INC.’S MOTION TO APPOINT A RECEIVER OVER
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1    Fathers”), an entity owned by Van Rixel which has the same address as Bhang. As Founding
2    Fathers is owned by Van Rixel and operates within the same cannabis sphere as Bhang it is unlikely
3    that Bhang has received fair market value for the use of similar trademarks. Bhang has certainly
4    not made any effort to oppose the registration of these similar marks and is not acting in the best
5    interests of Bhang stakeholders including Mentor.
6           Since entry of the Judgment against Bhang several licensees have invoked a termination
7    provision of their license agreements which allow termination for cause “if a substantial portion of
8    such Party’s business is subject to attachment or similar process”. To Mentor’s knowledge Bhang
9    and Van Rixel have done nothing in response to these claims of breach, further hurting Bhang’s
10   business and prospects for paying Mentor what is owed.
11          Other entities, CB Brands, LLC (a Nevada entity managed by Van Rixel) (“CB Brands”)
12   and The Chocolate Cartel, Co., a New Mexico entity affiliated with Van Rixel and his brother Tim
13   Van Rixel, also seem to be used by Bhang to avoid Mentor’s levies. As Van Rixel owns, manages,
14   or has a substantial stake in these new entities, it is doubtful that Bhang will receive fair
15   compensation from them giving Bhang the funds needed to pay Mentor’s judgment.
16                                       III.    ARGUMENT
17          Federal Rule of Civil Procedure 69(a) governs enforcement of a money judgment and
18   directs the district court to look to state rules in applying such enforcement procedures. FRCP Rule
19   69(a); Office Depot, Inc. v. Zuccarini, 596 F.3d 696, 700 (9th Cir. 2010). By virtue of the prior
20   proceeding in which the parties agreed to in personam jurisdiction of this Court, this Court is the
21   proper venue to bring a motion for purposes of enforcing the ensuing Judgment, including
22   appointment of a receiver.
23          A.      A Receiver is Necessary to Marshal and Preserve the Assets of Bhang.
24          California Civil Procedure Code §564(b) provides that, “a receiver may be appointed by the
25   court in which an action or proceeding is pending, or by a judge thereof, in the following cases: (3)
26   After judgment, to carry the judgment into effect,” and “(9) In all other cases where necessary to
27   preserve the property or rights of any party.”
28          Here a receiver is necessary to carry Mentor’s judgment into effect, and to preserve Bhang’s

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1    property and assets so that it can pay Mentor what it owes; thereby protecting Mentor’s interests
2    and rights.
3            California Civil Procedure Code Section 708.620 further provides that, “The court may
4    appoint a receiver to enforce the judgment where the judgment creditor shows that, considering the
5    interests of both the judgment creditor and the judgment debtor, the appointment of a receiver is a
6    reasonable method to obtain the fair and orderly satisfaction of the judgment.”
7                    1.      A Receiver is Necessary for Mentor to Collect the Judgment.
8            Bhang had the option of working with Mentor to pay the judgment. Of proposing a
9    reasonable payment plan. Of offering something. It chose not to. When asked if it intended to pay
10   the judgment it did not respond. When counsel asked counsel why Bhang did not make some offer
11   of payment, none was forthcoming from Bhang or its owners.
12           The long and the short of it is that Mentor will not be paid; it will never collect the
13   judgment, unless a receiver is appointed by this court. Mentor’s $1,500,000 will be kept by Bhang
14   and its principals with impunity. Mentor will never collect the principal, let alone the substantial
15   interest that is due and has been ordered to be paid. Bhang is not just thumbing its nose at Mentor;
16   it is thumbing its nose at the American Arbitration Association, the esteemed arbitrators who heard
17   this matter, this court, and the federal judiciary.
18           Bhang has had every opportunity to do the right thing and it has chosen not to. For that
19   reason, a receiver should be appointed. Considering the interests of Mentor, the appointment of a
20   receiver is a reasonable method to obtain the fair and orderly satisfaction of the judgment.
21                   2.      A Receiver is Necessary to Keep Bhang in Business.
22           Bhang is wasting. It has claimed and admitted that no money is coming in. Its licensees
23   have cried, “breach,” and are refusing to pay anyone. Other entities seem to be infringing Bhang’s
24   trademarks. It has no bank accounts; at least no accounts actually in its own name. It is owed
25   $1,500,000 fraudulently transferred to its principals and those principals will never bring an action
26   to collect those amounts. And this wasting means that it will never pay Mentor what is due.
27           Bhang cannot openly do business with Mentor’s judgment looming because of fear that
28   Mentor will levy anyone and everyone, which it will. Meanwhile as Bhang attempts to drive

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1    commerce through dummy bank accounts, hastily formed third parties, nominees, and a shell game
2    of entities to avoid paying Mentor, Bhang’s interests are ignored.
3           Based on Bhang’s and its owners’ actions here, including what appear to be transfers of
4    intellectual property and assignment of funds and assets to separate entities, appointing a receiver
5    over Bhang is not only in the best interests of carrying Mentor’s Judgment into effect but is also
6    necessary to prevent the fraudulent conveyance of and to preserve the assets of Bhang in the
7    interests of its other stakeholders, including vendors and creditors.
8           In completing its tasks the receiver has the, “power to bring and defend actions in his own
9    name, as receiver; to take and keep possession of the property, to receive rents, collect debts, to
10   compound for and compromise the same, to make transfers, and generally to do such acts
11   respecting the property as the Court may authorize.” Cal. Civ. Proc. Code §568.
12          A receiver is necessary to keep possession of the assets of Bhang and to ensure that funds
13   are adequately and properly collected, managed, and disbursed. Van Rixel, Sellers, and Waggoner
14   have proven that they have no interest in properly maintaining or preparing accurate financial
15   records. Within days of receipt of Mentor’s original $1,500,000, the entirety of the funds were
16   transferred to Van Rixel, Sellers, and Waggoner without so much as a notation in the financial
17   statements.
18          Mentor has no doubt that similar activities are currently happening as soon as any funds are
19   received by Bhang.      Someone needs to take Bhang’s side against all comers, including its
20   shareholders and its licensees. No one is doing that now.
21          Mentor has initiated several searches for assets in Bhang’s name but Bhang does not have
22   any bank accounts in its name at any institution in the nation. Bhang did have an account at Bank
23   of America but that account has since been closed. Mentor has no authority to claw back improper
24   or fraudulent conveyances on behalf of Bhang but a receiver does. A receiver is also obligated to
25   ensure that the funds are properly accounted for in financial records.
26          A receiver will also help ensure that Bhang is receiving all of the license and royalty fees
27   due under license agreements. Mentor has served almost two dozen levies on licensees, banks,
28   vendors, and service providers of Bhang trying to capture funds owed to Bhang. Despite publicly

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1    reported sales and required minimum monthly royalty amounts, the Bhang licensees which have
2    returned Memoranda of Garnishees have stated that no funds are owed to Bhang.
3            And in an attempt to avoid garnishment, licensees have been told to pay all license and
4    royalty fees either to third parties or to a bank account in the name of Van Rixel; accounts which
5    are currently unreachable by Mentor under the Judgment without filing suit and proving the
6    fraudulent conveyance.
7            A licensee owned by Bhang partner Richard Sellers has used the payments to a middleman
8    as an excuse to avoid collection of any funds under the levy served on it. And a Bhang lawyer is
9    disparaging Mentor and instructing licensees not to turn over funds as required by a levy.
10           A receiver has the authority to collect debts owed to the company and would be duty bound
11   to ensure that Bhang was receiving all of the funds required by current license agreements, whether
12   such payments were made to a middleman or to Bhang directly.
13           A receiver also has the authority to take actions respecting the property of the company,
14   including ensuring that fair market value is received for any licensed or disposed of assets or that
15   intellectual property is adequately protected. A receiver could ensure that Bhang’s trademark
16   interests are protected.
17           Founding Fathers, an entity owned and managed by Van Rixel, has registered or sought to
18   register trade and service marks that are virtually identical in design to trade and service marks
19   owned by Bhang. Similarly, CB Brands, another entity owned and managed by Van Rixel, is also
20   seeking to register similar trade and service marks in the cannabis space.
21           Bhang has made no effort to oppose or challenge any of the marks filed by Founding
22   Fathers, despite the marks’ design being identical to those used by Bhang and its licensees. As all
23   of the entities are owned by Van Rixel and Van Rixel is taking every action possible to move assets
24   away from Bhang, it is very unlikely that Bhang received fair market value, if any consideration at
25   all, for the use or license of Bhang’s trade and service marks or other intellectual property.
26           Mentor does not have the authority to ensure that Bhang receives proper consideration for
27   such use or to initiate oppositions to such mark registrations but, as the protector of Bhang’s assets,
28   a receiver does. Bhang is wasting. Considering the interests of Bhang, the appointment of a

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1    receiver is a reasonable method to keep Bhang in business and to obtain the fair and orderly
2    satisfaction of the judgment.
3           Based on the past and current actions of Bhang and its owners, including conveying assets
4    out of the company and instructing its licensee to pay third parties, the appointment of a receiver is
5    a reasonable way to ensure that Bhang is not completely plundered and rendered an empty shell
6    impervious to Mentor’s collection efforts, and that Mentor’s judgment is paid.
7           B.      A Receiver May Sell Bhang Assets if Appropriate.
8           If Bhang succeeds in alienating all of its licensees, the only assets of value to Bhang are its
9    intellectual property including its trade and service marks, its know-how and trade secrets, and its
10   domain name.
11          While generally, almost all of a judgment debtor’s assets are available for satisfaction of a
12   monetary judgment, as the Court noted in Palacio Del Mar Homeowners Ass’n, Inc. v. McMahon,
13   “nonmonetary property is not so easily applied. It must be valued and sold. And [California Civil
14   Procedure Code] section 708.205 does not authorize the judgment debtor to value property
15   unilaterally or put it up for public sale.” Palacio Del Mar Homeowners Ass’n, Inc. v. McMahon,
16   174 Cal. App. 4th 1386, 1391 (2009); Office Depot, Inc. v. Zuccarini, supra, 596 F. 3d at 701-702.
17          Section 699.040 of the California Civil Procedure Code further limits a writ of execution to
18   “tangible property that can be ‘levied upon by taking it into custody’”.           Palacio Del Mar
19   Homeowners Ass’n, Inc. v. McMahon, 174 Cal. App. 4th at 1391. By their very nature domain
20   names, trademarks, know-how, and trade secrets cannot be “taken into custody” under Civil
21   Procedure Code §699.040(a). Id.; see also Pac. Decision Sciences Corp. v. Sup. Ct., 121 Cal. App.
22   4th 1100, 1109 (2004) [no turnover order in aid of writ of attachment for “intangible assets
23   incapable of being taken into physical custody”].
24          Bhang neither produces nor distributes its branded products; it licenses the marks and
25   intellectual property to licensees which have exclusive distribution rights within a certain state.
26   Bhang’s owners are plundering the company and its representatives are telling licensees that funds
27   are to be paid to third-parties. If no cash or other assets are available for satisfaction of the
28   Judgment, the sale of such intellectual property may be the only way to enforce Mentor’s Judgment.

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1    Appointment of a receiver is necessary to achieve this step.
2              A receiver is necessary to evaluate and value Bhang’s trademarks, service marks, trade
3    secrets, know-how, and other intellectual property which make up the bulk of its assets in the event
4    that the receiver decides that selling such assets is the best way to preserve the Bhang estate.
5              C.     Mentor Proposes Kevin Singer Be Appointed Receiver Over Bhang.
6              A good receiver is one who knows the workings of the particular business and industry and
7    will act in the best interests of both the judgment debtor and the judgment creditor. Mentor
8    proposes Kevin Singer of Receivership Specialists, which specializes in both State and Federal
9    Court Receiverships (Real Estate and Businesses), Referee Assignments, Partition Sales, Real
10   Estate & Business Brokeraging, and Real Estate Consulting for Receiverships.
11             Mr. Singer acted as a Superior Court Receiver/Referee in over 290 cases in the last sixteen
12   years, and has also acted as a Federal Court Trustee and Custodian. He is a six time participant and
13   panelist in a California Receivers Forum Training Program in conjunction with Loyola Law School,
14   and he is a licensed California Real Estate Broker, a licensed California General Contractor, founder
15   and former President of a diversified real estate company, and a former Government Affairs Director
16   for a non-profit apartment association with over 36,000 members.
17             Mr. Singer is also currently a member of the Board of Directors for the California Receivers
18   Forum and an Associate Publisher for the Receivership News. He has experience in receiverships in
19   the cannabis industry. Neither he nor his office is associated with, or employed by, any party in this
20   matter.
21             Mr. Singer’s billing rate is a reasonable $ 275.00 per hour, and he bills in increments as small
22   as one fifth of one hour (12 minutes). Mr. Singer has agreed to act as receiver to Judgment Debtor
23   Bhang in this matter. A true and correct copy of his curriculum vitae is attached as Exhibit A to his
24   Declaration accompanying this Motion.
25                                        IV.     CONCLUSION
26             As this Court has jurisdiction over the parties this court may, and should, order that Mr.
27   Kevin Singer be appointed as receiver for Judgment Debtor Bhang. Bhang has taken no steps
28   toward satisfying the judgment against it, and Mentors efforts have yielded less than $60,000, while

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1    additional interest of about $90,000 has accrued.
2           Bhang is wasting. It and its principals have (i) fraudulently conveyed assets from the
3    business to its owners or third parties, (ii) tried to avoid Mentor’s levies by asking that its licensees
4    direct all payments to a middleman, (iii) set up company bank accounts in names other than Bhang,
5    and (iv) transferred Bhang assets and intellectual property to new entities owned by Bhang’s
6    principals.
7           Mentor is unpaid, Bhang deliquescing, and Bhang’s principals wastrels. Considering the
8    interests of both Mentor and Bhang, the appointment of a receiver is the most reasonable, likely
9    only, method to obtain the fair and orderly satisfaction of Mentor’s judgment and, therefore, this
10   court should grant Mentor’s motion to have a receiver appointed.
11                                                  Respectfully submitted,
12   Dated: June 30, 2017                           THE CORPORATE LAW GROUP
13

14                                          By:     /Megan Jeanne/________________________
                                                    Megan Jeanne
15                                                  Attorneys for Plaintiff Mentor
                                                    Capital, Inc.
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1
                                      CERTIFICATE OF SERVICE
2

3            I am a citizen of the United States. My business address is 1342 Rollins Road, Burlingame,
     CA 94010. I am employed in the County of San Mateo, from which this service occurred. I am
4    over the age of 18 years, and am not a party to the above-captioned action. On the date below I
     served the following documents:
5
            JUDGMENT CREDITOR MENTOR CAPITAL, INC.’S MOTION TO APPOINT A
6           RECEIVER OVER JUDGMENT DEBTORS
7           On the following person(s) in this action by:
8           [X]     E-SERVICE by filing the document listed above with the courts ECF service such
                    that all attorneys of record received Notice of Electronic Filing from the court clerk
9                   as follows:
10                  Jaime Bianca Herren     jherren@doylelow.com, mlow@doylelow.com
11
             I declare under penalty of perjury under the laws of the United States and State of California
12   that the above is true and correct. Executed on June 30, 2017 at Burlingame, California.
13
                                                            /s/ Megan Jeanne___________________
14                                                          Megan Jeanne
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     CERTIFICATE OF SERVICE – 3:14-cv-03630-LB
